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                    EXHIBIT 1
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                                      DUPLICATE

                                                               Number: BC1286974




                             CERTIFICATE
                                        OF
                          INCORPORATION

                        BUSINESS CORPORATIONS ACT




I Hereby Certify that PLATFORM LIFESCIENCES INC. was incorporated under the Business
Corporations Act on February 1, 2021 at 05:52 PM Pacific Time.




                                       Issued under my hand at Victoria, British Columbia
                                                     On February 1, 2021




                                                        CAROL PREST
                                                    Registrar of Companies
                                                  Province of British Columbia
                                                            Canada
